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                                  U nited States DistrictCourt
                               forthe Southern D istrictofFlorida

                                 CaseNo.1:19-mc-23253-XXXX                               O.G .
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       icationofM aigualidaNaranjoBarriosfor                                   Eule.wsuc
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     oreign Discovery AssistancePursuantto 28                           S          .-  .iAM!
    U.S.C.j1782,                                                         '
          Applicant,M aigualidaNaranjoBarrios.
                                                   /

                               Notice ofAppearance forA pplicant

          Gustavo J.Lam elas ofLam elas Law ,PA provides notice ofhisappearance in thisaction

    ascounselforApplicantMaigualidaNaranjo Barrios.Mr.Lamelasrequeststhathebeincluded
    on all service lists in this action, including by m eans of the Court's CM /ECF system .The

    cooperation ofallconcerned isappreciated.

          D ate:O ctober4,2019                      Respectfully subm itted,

                                                    By:/s/ G ustavo JtL am elas
                                                    GustavoLamelas,Esq.(FL BarNo.995983)
                                                    Email:gus@ lamelaslaw.com
                                                    DanielBuigas(FL BarNo.98293)
                                                    Email:daniel@ lamelaslaw.com
                                                    Lam elasLaw ,PA
                                                    2525 Ponce de Leon Blvd.,Ste.300
                                                    CoralGables,Florida 33134
                                                    Telephone:(305)395-4010
                                                    CounselforM aigualidaNaranjoBarrios
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                                                                   C ase N o.1:15-cv-24750-M G C



                                          Certi
                                              ,f
                                               icate ofService

               1 hereby certify that a true and correct copy of the foregoing, which w as filed
        conventionally,was served by U.S.m ail,on O ctober 4,2019,on allpersons identified on the
        Service Listbelow .


                                                             /s/ T- %
                                              Service List


        Banesco USA                                    N orm an Segall,Esq.
        c/o Entity Registered A gentLLC                nss@ lubellrosen.com
        Juan E.Serralles                               LubellR osen
        20l S.Biscayne Blvd.,Ste.2600                  One Colum bus Center
        M iam i,Florida 33131                          lA lham braPlaza,Suite 1410
                                                       CoralGables,FL 33134
        SunTrustBank                                   Telephone(305)655-3425
        Corporation Service Com pany                   Counsel for M iura Investm ent Advisors,
        1201H aysStreet                                lnc. f/k/a M ultiplicas Investm ent
        Tallahassee,Florida 32301                      Advisors, Inc-, M ultiplicas lnvestm ents
                                                       Ltd-, M W M Investm ents Ltd., ltalo
        SunrfrustBanlks,lnc.                           D 'Alfonso, M ario D 'A lfonso, H ugo
        Corporation Service Com pany                   O rtega,and M ario G.O valles
        1201H aysStreetTallahassee,
        Florida 32301
